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                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA


FERNANDA BRITO-MUNOZ and TAMIKA
WILLIAMS, on behalf of themselves and all
others similarly situated,                            Case No. ___________

                  Plaintiffs,


         v.
                                                      CLASS ACTION COMPLAINT
WALMART, INC.
                                                      DEMAND FOR JURY TRIAL
                  Defendant.




    Plaintiffs Fernanda Brito-Munoz and Tamika Williams, by their attorneys, on their own

behalf and on behalf of all others similarly situated, bring this class action against Walmart.

                                    I.   INTRODUCTION

       1.     Whether an annoying patch of dry skin or an oozing rash that affects one’s social

life, as much as 70% of the U.S. population is allergic to at least one personal care product

ingredient.

       2.     Many people do not know to which ingredient they are allergic. Allergic

reactions can be attenuated in both time and space. Some allergic reactions will manifest a

week after exposure to the allergen. If the person had an allergic response to the ingredient in

the past, she may find symptoms on the original site of the allergic response, rather than on the

part of the body that was most recently exposed to the allergen. (The immune system is thus

said to sometimes have a “memory.”)

       3.     Washes and shampoos will often get into children’s eyes, causing tremendous
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discomfort and eye damage.

        4.     Thus, consumers increasingly seek hypoallergenic and tear-free products. Those

who do not suffer from skin allergies seek hypoallergenic products to avoid developing a skin

allergy. Those who do suffer from a skin allergy seek hypoallergenic products to avoid the

inflammatory cascade caused by an unidentified skin allergen. And those with children

additionally seek tear-free products so as to not cause their children to suffer eye irritation or

damage during bath time.

        5.     Walmart is one of America’s largest retailers. In the past years, it has also been

a product company, marketing and selling products under its private label brands.

        6.     Through its private label brands, Walmart has marketed itself as a trustworthy

expert in skin care and baby care, offering information and advice to consumers desiring safe

products for sensitive skin.

        7.    Seeking to capture the growing market for hypoallergenic and tear-free products,

Walmart prominently labels many of its products as “hypoallergenic,” and adds to baby washes

and shampoos an additional “tear-free” claim. See Product Labels attached as Exhibit 1.

        8.    However, despite its marketing scheme, Walmart’s products are chock-full of a

significant array and substantial amount of known skin sensitizers (allergens), agents that cause

serious skin damage, chemicals that cause serious eye damage lasting longer than 21 days, skin

irritants, and eye irritants. See Exhibit 1 and infra at ¶¶ 76-82.

        9.     Walmart’s products all contain skin allergens (a.k.a. skin sensitizers) in an

amount that has already been shown to cause an allergic reaction to a significant portion of the

population, under the Globally Harmonized System of Classification. Exhibit 1.

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       10.    For example, Walmart’s Equate Kids Sunscreen Stick contains oxybenzone at a

concentration of 6%, even though oxybenzone is classified as a “Category 1 skin sensitizer”

under the Globally Harmonized System of Classification by governmental bodies responsible

for classifying chemicals, meaning that it causes an allergic response to a significant portion of

the population in extremely small amounts (e.g., 0.1%).




       11.     As another example, Walmart’s “hypoallergenic” and “tear-free” Equate Baby

Shampoo contains tetrasodium EDTA, sodium hydroxide, sodium laureth sulfate, and

cocamidopropyl betaine, which governmental bodies have classified as causing “Category 1

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eye damage” under the Globally Harmonized System of Classification, meaning they cause

serious damage to the eye tissue or serious physical decay of vision which is not fully reversible

within 21 days. The product’s cocamidopropyl betaine (the third most voluminous ingredient,

after water), as well as its phenoxyethanol are both classified by the American Contact

Dermatitis Society as “core allergens,” i.e., allergens that most frequently cause allergic

reactions in human patch tests. In fact, in 2004, the American Contact Dermatitis Society

named cocamidopropyl betaine the “Contact Allergen of the Year,” a distinction it awards to

allergens causing significant allergic contact dermatitis. Its sodium laureth sulfate is also listed

as a Category 1 skin sensitizer under the Globally Harmonized System of Classification.




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Exhibit 1.

           12.   This is a class action on behalf of a national class of consumers who purchased

Walmart’s body care products that were falsely and misleadingly marketed as “hypoallergenic”

(some of which were also falsely and misleadingly marketed as “tear-free”). These products in

fact all contain a shocking array of compounds known to cause allergic responses. These

products also contain a plethora of other compounds known to cause severe skin corrosion,

serious eye damage, or are otherwise toxic or hazardous in the case of skin contact. These

products are also stuffed with other chemicals that have not been analyzed for their skin

sensitization potential.

           13.   By deceiving consumers about the nature, quality, and/or ingredients of its

products, Walmart is able to command a premium price, increasing consumers’ willingness to

pay and take away market share from competing products, thereby increasing its own sales and

profits.

           14.   Consumers lack the ability to test or independently ascertain whether an

ingredient is an allergen or an irritant, especially at the point of sale.

           15.   Reasonable consumers also must and do rely on the product company to

honestly report the known characteristics of ingredients that are in a product.

           16.   Walmart further encouraged consumers to rely on its representations, marketing

itself as an honest company that provides transparent and truthful information about its

products’ ingredients.

           17.   Further encouraging consumers’ reliance on Walmart’s “hypoallergenic” and

“tear-free” promises, Walmart labels only some products as hypoallergenic, and only some

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products as tear-free, giving consumers the (false) impression that Walmart carefully reviewed

each ingredient in its products to ensure that the “hypoallergenic” and “tear-free” promises was

made for only those products that truly are as represented. See, e.g., Exhibit 2.

       18.     Walmart intended for consumers to rely on its representations, and hundreds of

thousands of reasonable consumers did in fact so rely.

       19.     As a result of its false and misleading labeling, Walmart was able to sell these

products to hundreds of thousands of consumers throughout the United States and to profit

handsomely from these transactions.

       20.     Walmart’s false and misleading representations and omissions violate state laws

and common law, detailed more fully below.

       21.     Plaintiffs bring this action to stop Walmart’s deceptive and misleading

practices.

                                        II. PARTIES

A.     Plaintiff Fernanda Brito-Munoz

       22.     Plaintiff Fernanda Brito-Munoz is an individual consumer who is a legal

resident of Red Lion, Pennsylvania. Plaintiff Brito-Munoz regularly purchased Parent’s Choice

Baby Wipes for her daughter from the Walmart located at 2801 E Market St., York, PA

17402. Plaintiff Brito-Munoz consistently used cash or a gift card for her purchases. Plaintiff

Brito-Munoz estimates that she purchased the product every two months, and she last

purchased the product two months ago. Plaintiff Brito-Munoz also purchased Walmart Parent’s

Choice diapers, size 2.

       23.     In deciding to make these purchases, Plaintiff Brito-Munoz saw, relied upon,

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and reasonably believed the label representation that the products were “hypoallergenic.”

These representations were a significant reason for her purchases.

        24.     Plaintiff Brito-Munoz’s daughter has suffered skin irritation, dermatitis, and/or

an allergic skin reaction in the past.

        25.     In the case of common skin irritation or dermatitis, Plaintiff Brito-Munoz, like

similarly situated consumers, is unsure whether what seemed like skin or eye irritation or

dermatitis was in fact an allergic response to an ingredient in a personal care product.

        26.     Like similarly situated consumers, Plaintiff Brito-Munoz does not know the

identity of every ingredient her daughter is allergic to. Moreover, like similarly situated

consumers, Plaintiff Brito-Munoz does not know which ingredients she may develop an allergy

to.

        27.     Had Plaintiff Brito-Munoz known at the time of her purchases that these

products were not hypoallergenic as promised, she would not have purchased these products.

        28.     Had Plaintiff Brito-Munoz known at the time that these products contained skin

sensitizers or skin allergens, she would not have purchased these products.

        29.     Had Plaintiff Brito-Munoz known at the time that these products contained

irritants or substances that cause skin or eye damage, she would not have purchased these

products.

        30.     Plaintiff Brito-Munoz purchased, purchased more of, or paid more for, these

products than she would have had she known that the products were not hypoallergenic, as

promised.

        31.     If Walmart’s products were reformulated such that its representations were

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truthful, Plaintiff Brito-Munoz would consider purchasing Walmart’s products in the future.

        32.     The products that Plaintiff Brito-Munoz purchased are substantially similar to

Walmart’s other products alleged to be falsely labeled.

B.      Plaintiff Tamika Williams

        33.     Plaintiff Tamika Williams is an individual consumer who, at all times material

hereto, was a citizen of the State of California and resident of Vacaville. For approximately

thirty-six months, Plaintiff Williams regularly purchased Parent’s Choice Baby Lotion,

Parent’s Choice Baby Laundry Detergent, Parent’s Choice Shea Butter Baby Wipes, Parent’s

Choice Maximum Strength Diaper Rash Ointment, Parent’s Choice Wash & Shampoo, and

Equate Personal Wipes Fresh Scent from Walmart located in Vacaville, California. Plaintiff

Williams consistently used a credit card for her purchases. Plaintiff Williams estimates that she

purchased the product every two months.

        34.     In deciding to make these purchases, Plaintiff Williams saw, relied upon, and

reasonably believed the label representation that the products were “hypoallergenic.” These

representations were a significant reason for her purchases.

        35.     Plaintiff Williams has suffered skin irritation, eye irritation, dermatitis, and/or

an allergic skin reaction in the past.

        36.     In the case of common skin irritation or dermatitis, Plaintiff Williams, like

similarly situated consumers, is unsure whether what seemed like skin or eye irritation or

dermatitis was in fact an allergic response to an ingredient in a personal care product.

        37.     Like similarly situated consumers, Plaintiff Williams does not know the identity

of every ingredient she and her family are allergic to. Moreover, like similarly situated

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consumers, Plaintiff Williams does not know which ingredients she or her family may develop

an allergy to.

        38.      Had Plaintiff Williams known at the time of her purchases that these products

were not hypoallergenic as promised, she would not have purchased these products.

        39.      Had Plaintiff Williams known at the time that these products contained skin

sensitizers or skin allergens, she would not have purchased these products.

        40.      Had Plaintiff Williams known at the time that these products contained irritants

or substances that cause skin or eye damage, she would not have purchased these products.

        41.      Plaintiff Williams purchased, purchased more of, or paid more for, these

products than she would have had she known that the products were not hypoallergenic, as

promised.

        42.      If Walmart’s products were reformulated such that its representations were

truthful, Plaintiff Williams would consider purchasing Walmart’s products in the future.

        43.      The products that Plaintiff Williams purchased are substantially similar to

Walmart’s other products alleged to be falsely labeled.

C.      Defendant Walmart

        44.      Defendant Walmart, Inc. is a corporation with its principal place of business

located at 702 S.W. 8th Street, Bentonville, AR 72716. Walmart makes, markests, and sells its

private label products Walmart, Equate, Equate Beauty, Great Value, and Parent’s Choice

products to U.S. residents throughout Pennsylvania, California, and the United States.

D.      Jurisdiction

        45.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

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Act, 28 U.S.C. § 1332(d) (“CAFA”). Jurisdiction under CAFA is met because the proposed

number of putative class members exceeds 100, at least one plaintiff and one defendant are

citizens of different states, and the amount in controversy, including, but not limited to the

aggregate amount of relief sought by absent class members, exclusive of interest and costs,

exceeds $5 million.

        46.     Venue is proper in this District under 28 U.S.C. § 1391(a). Substantial acts in

furtherance of the alleged improper conduct, including the dissemination of false, misleading

and deceptive information regarding the nature, quality, and/or ingredients of the products,

occurred within this District.

        47.     No other forum would be more convenient for the parties and witnesses to

litigate this action.

        48.     This Court has personal jurisdiction over Walmart because it is a corporation or

individual with sufficient minimum contacts in Pennsylvania or otherwise intentionally avails

itself of the laws of this State through its marketing and sales of the products at issue in

Pennsylvania, to consumers in Pennsylvania, and to its retailers which it owns and operates

throughout Pennsylvania, so as to render the exercise of jurisdiction by this Court consistent

with traditional notions of fair play and substantial justice.

                                 III.   FACTUAL ALLEGATIONS

A.      Consumers Actively Seek Hypoallergenic Body Care Products

        49.     According to the Centers for Disease Control and Prevention (“CDC”), 8.8

million children (12% of U.S. children) reported skin allergies in 2012. Skin allergies are even

more prevalent among young children; the CDC reports that 14.2% of children between the

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ages of 0 and 4 suffered a skin allergy in 2012.

       50.     These numbers are likely to underreport the prevalence of allergic contact

dermatitis; recent studies show that somewhere between 14-70% of children suffer from skin

allergies, based on positive patch skin tests.

       51.     Skin allergies are similarly prevalent among adults.

       52.     When skin is exposed to a sufficient amount of a chemical allergen, the skin is

“sensitized.” Upon re-exposure to the allergen, the skin initiates an inflammatory cascade,

causing skin changes associated with allergic contact dermatitis. These include redness,

oedema (fluid retention), scaling, fissures (cracking), vesicles (fluid-filled sacs), bullae

(bubble-like cavity), and eventually oozing.

       53.     Contact sensitization and related skin allergies can severely affect a person’s

quality of life, depending on the severity and the site of skin sensitization. People suffering

from noticeable skin allergies will try to hide the symptoms or avoid public interactions. In

either case, skin allergies can dramatically affect a person’s confidence and engagement in life.

       54.     It is difficult to identify the substance causing an allergic response. Allergic

contact dermatitis develops several days after exposure to a skin allergen. Some substances do

not cause symptoms until a week after exposure.

       55.     Even more, once an individual is sensitized to an allergen, future contact with

the allergen can trigger a response in the original site of sensitization. For example, if someone

first had an allergic response to a product used on the face, and later used a different product

containing the same allergen on the legs, the allergic response will sometimes manifest on the

face – even if the face was never exposed to the second product.

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        56.       When a consumer cannot identify the ingredient to which they are allergic,

allergic contact dermatitis will persist, and, it is believed, will take longer to resolve even after

the cause is identified.

        57.       Thus, consumers will actively seek out hypoallergenic products – to avoid a

skin allergy from occurring at all and/or to prevent a known skin allergy from repeating the

inflammatory cascade.
B.      Walmart Labels Its Products as “Hypoallergenic,” and Additionally Labels Some
        as “Tear-Free”

        58.       On the products’ labels, and again on its website, Walmart represents that

certain of its products are “hypoallergenic.” These products are all falsely labeled, as all of

these products contain skin allergens in an amount known to cause an allergic reaction. They

also all contain ingredients that cause skin irritation or skin damage.

        59.       On the products’ labels and again on its website, Walmart represents that certain

Baby Walmart washes and shampoos are both “hypoallergenic” and “tear-free.” These

products are falsely labeled, as all these products contain skin allergens in an amount known

to cause an allergic reaction. They also all contain ingredients that cause skin irritation or skin

damage. They also all contain ingredients that cause serious eye damage.

       60.    The Falsely Labeled Products are:
                   2-in-1 Baby Wash & Shampoo*
                   2-in-1 Cleanser
                   Antibacterial Hand Wipes
                   Anti-Wrinkle Cream
                   Baby Bath*
                   Baby Laundry Detergent
                   Baby Lotion
                   Baby Oil Cream
                   Baby Powder
                   Baby Shampoo*
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                  Baby Sunscreen Lotion
                  Baby Wash & Shampoo*
                  Baby Wipes
                  Bath for Nighttime/Nighttime Bath*
                  Body Wash
                  Cleansing Towelettes
                  Daily Moisturizer
                  Day Cream
                  Diaper Rash Ointment
                  Diaper Rash Paste
                  Diaper Rash Relief
                  Facial Moisturizer
                  Facial Scrub
                  Facial Wipes
                  Feminine Wash
                  Feminine Wipes
                  Kids Sunscreen Lotion
                  Kids Sunscreen Stick
                  Lotion
                  Makeup Remover Towelettes
                  Moisturizing Lotion
                  Personal Wipes
                  Wash & Shampoo*
                  Wipes

* Also labeled as “tear-free.”
       61.       The labels of these products are attached as Exhibit 1.

       62.       Walmart regularly introduces new products, relabels products, reformulates

products, and renames products. Plaintiffs reserve the right to expand or limit the list of Falsely

Labeled Products, as warranted by discovery, product modifications, and/or new product

launches.

C.     Definition of Hypoallergenic and Tear-Free

       63.       Reasonable consumers believe and expect that a hypoallergenic product does

not contain skin allergens in an amount that is known to cause an allergic reaction in a

significant number of people.

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            64.   Reasonable consumers also believe and expect that a hypoallergenic product

does not contain a significant amount of ingredients known to produce skin irritation, skin

corrosion, and/or eye damage. In buying a hypoallergenic product, consumers seek to avoid

negative skin reaction -- irrespective of whether the reaction is caused by an allergen or an

irritant.

            65.   Reasonable consumers believe and expect that a product that is labeled as “tear-

free” does not contain eye irritants or compounds that can cause eye damage at a concentration

that could elicit eye irritation and/or eye damage.

D.          Walmart’s Representations Are False

            66.   The United Nation’s Globally Harmonized System of Classification and

Labeling of Chemicals (“GHS”) provides globally uniform physical, environmental, health,

and safety information on hazardous chemical substances and mixtures. It establishes criteria

for the classification of chemical substances to facilitate global trade.

            67.   Under, GHS, a substance is a “Category 1 skin sensitizer” if it causes an allergic

response to a significant portion of the population even in extremely small amounts, e.g.,

≤ 0.1% intradermal induction dose causes a positive response in more than 30% of guinea pigs

in a guinea pig maximization test. The GHS standard for skin sensitizers is attached as

Exhibit 3.




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       68.     The American Contact Dermatitis Society (“ACDS”) is the premier

professional society that cultivates advances in the diagnosis and care of contact dermatitis

through its development and promotion of education, research, and advocacy. Updated

regularly, ACDS publishes a list of “Core Allergens” - allergens that most frequently cause

allergic reactions in human patch tests.

       69.     All Walmart’s Falsely Labeled Products contain substances classified by

reputable authorities as skin sensitizers. See infra at ¶ 76 (identifying skin sensitizers) and

Exhibit 1 (showing all products labeled as “hypoallergenic” contain these skin sensitizers).

       70.     All Walmart’s Falsely Labeled Products also contain skin sensitizers/allergens

in an amount that is known to cause an allergic response in a substantial number of people.

       71.     Thus, Walmart’s Falsely Labeled Products are not hypoallergenic, and its on-

the-label promise that its products are “hypoallergenic” is false.

       72.     All Walmart’s Falsely Labeled Products also contain significant amounts of

ingredients classified under GHS by governmental bodies as causing skin damage or irritation.

The GHS standard for skin corrosive agents and skin irritants is attached as Exhibit 3. See infra

at ¶¶ 79-81 (identifying irritants and corrosive agents) and Exhibit 1 (showing which products

labeled as “hypoallergenic” contain these ingredients).

       73.     Thus, Walmart’s on-the-label promise that its products are “hypoallergenic” is

also misleading.

       74.     All Walmart’s Falsely Labeled Products that promise to be “tear-free” contain

significant amounts of ingredients classified under GHS by governmental bodies as causing

Category 1 eye damage, meaning that it causes serious damage to the eye tissue or serious

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physical decay of vision which is not fully reversible within 21 days of application. See infra

at ¶ 82 (identifying agents causing Category 1 eye damage) and Exhibit 1 (showing which

products labeled as “tear-free” contain these ingredients).

        75.        Thus, Walmart’s Falsely Labeled Products are not “tear-free”, and its on-the-

label promise that its products are “tear-free” is false.

        76.        All Walmart’s Falsely Labeled Products contain one or more of the following

chemicals that are recognized by governmental authorities as skin sensitizers (a.k.a. skin

allergens) or by the American Contact Dermatitis Society (“ACDS”) as a core allergen:

              a.      Acetaldehyde: classified as a Category 1 skin sensitizer under the United

                      Nation’s Globally Harmonized System of Classification and Labeling of

                      Chemicals (“GHS”) by an official governmental body authorized to classify

                      chemicals (Japan); reported to ECHA by manufacturers or importers as a

                      Category 1 skin sensitizer.

              b.      Acrylamide: classified as a Category 1 skin sensitizer (Australia, ECHA,

                      Japan, Korea, New Zealand); reported to ECHA by manufacturers or

                      importers as a Category 1 skin sensitizer.

              c.      Alpha-Isomethyl Ionone: classified as an “established contact allergen in

                      humans” by ECHA; reported to ECHA by manufacturers or importers as a

                      Category 1 skin sensitizer.

              d.      Amyl Cinnamal: classified as a Category 1 skin sensitizer (Japan);

                      classified as an “established contact allergen in humans” by ECHA; reported

                      to ECHA by manufacturers or importers as a Category 1 skin sensitizer.

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    e.    Benzalkonium chloride: classified as a Category 1 skin sensitizer (Japan);

          listed as a core allergen by ACDS.

    f.    Benzisothiazolinone:      classified as a Category 1A skin sensitizer (Japan);

          classified as a Category 1 skin sensitizer (Australia, ECHA, New Zealand);

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    g.    Benzoic Acid: listed as a core allergen by ACDS; reported to ECHA by

          manufacturers or importers as a Category 1 skin sensitizer.

    h.    Benzyl alcohol: classified as a Category 1 skin sensitizer (New Zealand);

          classified as an “established contact allergen in humans” by ECHA; listed

          as a core allergen by ACDS; reported to ECHA by manufacturers or

          importers as a Category 1 skin sensitizer.

    i.    Benzyl Benzoate: classified as an “established contact allergen in humans”

          by ECHA.

    j.    Benzyl Salicylate: classified as a Category 1 skin sensitizer (New Zealand);

          classified as an “established contact allergen in humans” by ECHA; ECHA

          reports skin sensitization as a property of concern because “a majority of

          data submitters agree this substance is skin sensitising.”

    k.    BHA:          classified as a Category 1 skin sensitizer (Japan, New Zealand);

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    l.    BHT: classified as a Category 1 skin sensitizer (Japan); listed as a core

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          allergen by ACDS.

    m.    Butylparaben:      classified as a Category 1 skin sensitizer (New Zealand);

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    n.    Cetearyl alcohol: listed as a core allergen by ACDS.

    o.    Cetearyl glucoside: listed as a core allergen by ACDS.

    p.    Citrus Limon (Lemon) Fruit Extract: classified as a Category 1 skin

          sensitizer (New Zealand); classified as an “established contact allergen in

          humans” by ECHA; reported to ECHA by manufacturers or importers as a

          Category 1 skin sensitizer.

    q.    Cocamidopropyl Betaine: listed as a core allergen by ACDS; ECHA reports

          skin sensitization as a property of concern because “a majority of data

          submitters agree this substance is skin sensitising.”

    r.    Cyamopsis Tetragonoloba (Guar) Gum: classified as a Category 1 skin

          sensitizer (New Zealand).

    s.    Decyl Glucoside: listed as a core allergen by ACDS.

    t.    Diazolidinyl urea: classified as a Category 1 skin sensitizer (New Zealand);

          listed as a core allergen by ACDS; reported to ECHA by manufacturers or

          importers as a Category 1 skin sensitizer.

    u.    DMDM Hydantoin: classified as a Category 1 skin sensitizer (New

          Zealand); listed as a core allergen by ACDS; reported to ECHA by

          manufacturers or importers as a Category 1 skin sensitizer.

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    v.    Ethylene Oxide: classified as a Category 1 skin sensitizer (Japan, New

          Zealand).

    w.    Ethylhexylglycerin: listed as a core allergen by ACDS.

    x.    Ethylparaben:      classified as a Category 1 skin sensitizer (New Zealand);

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    y.    Hexyl Cinnamal: classified as a Category 1 skin sensitizer (Japan);

          classified as an “established contact allergen in humans” by ECHA; ECHA

          reports skin sensitization as a property of concern because “a majority of

          data submitters agree this substance is skin sensitising.”

    z.    Iodopropynyl Butylcarbamate: classified as a Category 1 skin sensitizer

          (Australia, ECHA, New Zealand); listed as a core allergen by ACDS;

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    aa.   Lanolin Alcohol: listed as a core allergen by ACDS.

    bb.   Lavender Fragrance: listed as a core allergen by ACDS; ECHA reports

          skin sensitization as a property of concern because “a majority of data

          submitters agree this substance is skin sensitising.”

    cc.   Methylchloroisothiazolinone: classified as a Category 1 skin sensitizer

          (New Zealand); listed as a core allergen by ACDS; ECHA reports skin

          sensitization as a property of concern because “a majority of data submitters

          agree this substance is skin sensitising.”

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    dd.   Methylisothiazolinone: classified as a Category 1A skin sensitizer (ECHA);

          classified as a Category 1 skin sensitizer (Australia); listed as a core allergen

          by ACDS; reported to ECHA by manufacturers or importers as a Category

          1 skin sensitizer.

    ee.   Methylparaben: classified as a Category 1 skin sensitizer (New Zealand);

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    ff.   Octinoxate: listed as a core allergen by ACDS.

    gg.   Oxybenzone: classified as a Category 1 skin sensitizer (Japan); listed as a

          core allergen by ACDS.

    hh.   Phenoxyethanol: listed as a core allergen by ACDS.

    ii.   Propylene Glycol: listed as a core allergen by ACDS; reported to ECHA by

          manufacturers or importers as a Category 1 skin sensitizer.

    jj.   Propylene Oxide: classified as a Category 1 skin sensitizer (Japan).

    kk.   Propylparaben: classified as a Category 1 skin sensitizer (New Zealand);

          reported to ECHA by manufacturers or importers as a Category 1 skin

          sensitizer.

    ll.   Rhodinol: classified as a Category 1 skin sensitizer (New Zealand);

          classified as an “established contact allergen in humans” by ECHA; reported

          to ECHA by manufacturers or importers as a Category 1 skin sensitizer.

    mm.   Sodium Benzoate: listed as a core allergen by ACDS; reported to ECHA by

          manufacturers or importers as a Category 1 skin sensitizer.

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             nn.      Sodium Dodecylbenzenesulfonate: classified as a Category 1 skin

                      sensitizer (Japan); reported to ECHA by manufacturers or importers as a

                      Category 1 skin sensitizer.

             oo.      Sodium Laureth Sulfate: classified as a Category 1 skin sensitizer under

                      GHS (New Zealand); ECHA reports skin sensitization as a property of

                      concern because “a majority of data submitters agree this substance is skin

                      sensitising.”

             pp.      Sorbitan Sesquioleate: listed as a core allergen by ACDS.

             qq.      Terpineol: classified as an “established contact allergen in humans” by

                      ECHA.

             rr.      Triethanolamine: classified as a Category 1 skin sensitizer under GHS

                      (Japan); reported to ECHA by manufacturers or importers as a Category 1

                      skin sensitizer.

       77.         All Walmart’s Falsely Labeled Products have one or more of the above

recognized skin sensitizers in an amount that is known to cause an allergic reaction. For

example, oxybenzone makes up 6% of Walmart’s Equate Kids Sunscreen Stick, an amount far

more than the approximately 0.1% concentration shown to cause an allergic response under the

GHS testing. Exhibits 1, 3.

       78.         Other ingredients in Walmart’s Falsely Labeled Products were also reported to

the ECHA by manufacturers or importers to as a Category 1 skin sensitizer, including: acrylates

copolymer, alumina, anisaldehyde, anthemis nobilis flower extract, artemisia umbelliformis

extract, avena sativa (oat) kernel extract, avena sativa (oat) kernel flour, avena sative (oat)

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kernel flour, bisabolol, blue #1, calendula officinalis flower extract, calendula officinalis flower

oil, camellia sinensis leaf extract, chamomile recutita flower extract, CI 77947 (zinc oxide),

citrus nobilis (mandarin orange) peel extract, coco-glucoside, denatured alcohol, ethyl linalool,

ext. violet 2, glycereth-7, ilex paraguariensis leaf extract, isobutylparaben, lauric acid, lauryl

glucoside, magnesium chloride, magnesium sulfate, mineral oil, PEG-120 methyl glucose

dioleate, PEG-175 diisostearate, PEG-80 sorbitan laurate, pentadecalactone, phenethyl alcohol,

polysorbate 20, red 30, rosa centifolia flower extract, sodium hyaluronate, sodium sulfate,

tetrahexyldecyl ascorbate, tetrasodium EDTA, tropolone, xanthan gum, yellow 5 (cl 19140),

and zinc oxide.

       79.     Walmart’s Falsely Labeled Products also contain ingredients which have been

classified by governmental authorities as causing Category 1 skin damage under GHS,

including     methylisothiazolinone        (ECHA,       New       Zealand,      and     Australia),

methylchloroisothiazolinone (Australia and New Zealand), triethanolamine (ECHA, Japan,

and New Zealand), benzalkonium chloride (Japan, New Zealand, Australia, ECHA),

benzethonium chloride (New Zealand), distearyldimonium chloride (Japan), ethylene oxide

(ECHA, Australia), etidronic acid (Japan), lactic acid (Japan, New Zealand), potassium

hydroxide (ECHA, Japan, New Zealand), propylene oxide (Japan, Australia), sodium

hydroxide (ECHA, Japan, New Zealand), triethanolamine (Japan, ECHA, New Zealand), and

trisodium NTA (New Zealand).

       80.     The GHS Category 1 classification means that these ingredients irreversibly

damage the skin after short exposure; in animal tests, the substance caused visible necrosis

after exposure of less than 3 minutes (for thriethanolamine, potassium hydroxide, and sodium

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hydroxide) or less than 14 minutes (for the remaining ingredients). Corrosive reactions are

typified by ulcers, bleeding, bloody scabs, and, by the end of observation at 14 days, by

discoloration due to blanching of the skin, complete areas of alopecia (hair loss), and scars.

       81.     Walmart’s Falsely Labeled Products also contain substances governmental

authorities have classified as Category 2 skin irritants under GHS, meaning that they cause

significant erythema/eschar (redness and dead tissue) or edema (abnormal accumulation of

fluid beneath the skin) lasting more than three days, or skin inflammation lasting longer than

14 days. These ingredients include: 1,4-dioxane, acetaldehyde, acrylamide, ethoxylated

alcohols C12-15, C12-15 pareth-11, terpineol, ammonium laureth sulfate, ammonium lauryl

sulfate, amyl cinnamal, benzisothiazolinone, benzoic acid, benzyl acetate, calcium chloride,

carthamus tinctorius (safflower) seed oil, ceteareth-12, ceteareth-20, ceteareth-25, ceteareth-6,

cetearyl alcohol, cetearyl glucoside, citric acid, citrus limon (lemon) fruit extract,

cocamidopropyl betaine, diazolidinyl urea, dihydrocitronellol, disodium cocoamphodiacetate,

DMDM hydantoin, ethyl cinnamate, gluconic acid, glyceryl oleate, hexyl cinnamal,

iodopropynyl magnesium nitrate, octisalate, oleic acid, protease, rhodinol, sodium carbonate,

sodium dodecylbenzenesulfonate, and sodium laureth sulfate.

       82.     All of the Walmart products labeled “tear-free” contain cocamidopropyl

betaine, citric acid, tetrasodium EDTA, sodium hydroxide, sodium laureth sulfate, and/or

ethylhexylglycerin, which have all been classified by governmental authorities as causing

Category 1 eye damage under GHS, meaning that it causes serious damage to the eye tissue or

serious physical decay of vision which is not fully reversible within 21 days of application.

       83.     All of the Walmart products labeled “tear-free” contain a significant amount of

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cocamidopropyl betaine. In fact, in all Walmart’s products labeled “tear-free,” cocamidopropyl

betaine is the second or third ingredient by volume.

       84.     Walmart’s conduct deceived and/or was likely to deceive the public.

       85.     Consumers would not know the true nature of the ingredients merely by reading

the ingredient label. Its discovery requires investigation beyond the grocery store and

knowledge of chemistry beyond that of the average reasonable consumer.

       86.     Even worse - further deceiving consumers who know to avoid a certain

chemical, Walmart adds ingredients to its products without disclosing them in the product

package’s ingredient list.

       87.     For       example,        Walmart         adds       methylchloroisothiazolinone,

methylisothiazolinone, benzisothiazolinone, rhodinol, and sodium dodecylbenzenesulfonate,

to its “hypoallergenic” baby laundry detergent, which are all classified as Category 1 skin

sensitizers, but did not disclose this on the product label. See Exhibit 4.

E.     Location Of The Misrepresentations

       88.     Walmart made the above false, deceptive, and misleading misrepresentations

and omissions on the package of the Falsely Labeled Products. See Exhibit 1.

       89.     Walmart repeated the above false, deceptive, and misleading misrepresentations

and omissions on its online retail product page for the Falsely Labeled Products. See Exhibit 1.

       90.     The misrepresentations and omissions were uniform and have actually been

communicated to Plaintiffs and to each member of the Class at every point of purchase and

consumption.




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F.     Walmart’s Deceptive And Misleading Omissions

       91.        Walmart deceptively and misleadingly conceals other material facts about the

Falsely Labeled Products, including:

             a.      the true nature of the Falsely Labeled Products’ ingredients;

             b.      the identity of the Falsely Labeled Products’ ingredients;

             c.      that the Falsely Labeled Products contain sensitizers, irritants, and/or

                     substances otherwise damaging to skin or eyes;

             d.      the concentration of the sensitizers, irritants, and/or substances otherwise

                     damaging to skin or eyes in the Falsely Labeled Products;

             e.      that the Falsely Labeled Products are not “hypoallergenic;”

             f.      that the Falsely Labeled Products are not what a reasonable consumer would

                     consider to be “hypoallergenic;”

             g.      that the Falsely Labeled Products contain chemicals that a reasonable

                     consumer would not expect in a product labeled as “hypoallergenic;”

             h.      that the Falsely Labeled Products are not “tear-free;”

             i.      that the Falsely Labeled Products are not what a reasonable consumer would

                     consider to be “tear-free;”

             j.      that the Falsely Labeled Products contain chemicals that a reasonable

                     consumer would not expect in a product labeled as “tear-free.”

       92.        Plaintiffs and the members of the Classes are not at fault for failing to discover

Walmart’s wrongs earlier and had no actual or presumptive knowledge of facts sufficient to

put them on inquiry notice.

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        93.     Walmart has concealed the identity of several ingredients. Discovery is

therefore necessary to determine their identity. These ingredients may also be sensitizers,

irritants, or otherwise toxic to the skin.

        94.     For example, Walmart adds “fragrance” or “parfum” to its products but does

not identify what chemical is used. Many ingredients used as fragrances are known skin

sensitizers. Many also cause serious eye damage.

        95.     Furthermore, Walmart has not disclosed the concentration of each ingredient in

its products.

        96.     These facts are not ascertainable and are still not known to Plaintiffs, the Class

members, and reasonable consumers. Walmart’s concealment tolls the applicable statute of

limitations.

        97.     To this day, Walmart continues to conceal and suppress the existence, true

identity, nature, and concentration of the sensitizers, irritants, and/or otherwise skin or eye

damaging substances in the Falsely Labeled Products.

        98.     Similarly, to this day, Walmart continues to conceal and suppress the fact that

the Falsely Labeled Products are not “hypoallergenic” as promised, and are not “tear-free” as

promised.

        99.     Walmart represents elsewhere on the product label and on its website that the

products are “mild,” “gentle,” appropriate for sensitive skin, etc. See Exhibit 1. This further

obscures the fact that Walmart’s products are not “hypoallergenic” and are not “tear-free”, as

promised.




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G.     Walmart Knew Its Representations Were False

       100.    Walmart holds itself out to the public as a trusted expert in the area of

hypoallergenic, tear-free, safe, mild, and gentle personal care products.

       101.    Walmart knew what representations it made regarding the Falsely Labeled

Products, as all representations appear on the products’ packages.

       102.    Walmart also knew what ingredients were added to each product, as

(presumably) all product ingredients are listed on the product packages and are further

disseminated on its website.

       103.    Walmart is governed by and thus is presumed to know the federal regulations

and state laws that control the labeling of the Falsely Labeled Products, and thus is aware that

many of the ingredients have been federally declared to be chemical compounds that require

inventory reporting under the Toxic Substance Control Act, and are hazardous or toxic

compounds that require special disclosures on safety data sheets.

       104.    Walmart thus knew all the facts demonstrating that its Falsely Labeled Products

contain sensitizers, irritants, and otherwise harmful ingredients, and that these products were

therefore falsely labeled.

H.     Walmart Intended Consumers To Rely

       105.    As Walmart knows, consumers prefer hypoallergenic and tear-free products. As

Walmart knows, consumers will pay a premium for hypoallergenic products, will pay a

premium for tear-free products, or would not purchase these products at all unless they were

hypoallergenic and/or tear-free, as advertised.

       106.    Walmart’s misleading affirmative statements (e.g., that the products were

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hypoallergenic, tear-free, mild, gentle, safe) further obscured what Walmart failed to disclose.

Thus, reliance upon Walmart’s misleading and deceptive representations and omissions may

be presumed.

       107.    Walmart made the false, deceptive, and misleading representations and

omissions, intending Plaintiffs and Class members to rely upon these representations and

omissions in purchasing and using one or more Falsely Labeled Products.

       108.    In making the false, misleading, and deceptive representations and omissions at

issue, Walmart knew and intended that consumers would purchase the Walmart products when

consumers would otherwise purchase a competing product or employ an alternate regimen

(such as using an oil for moisturizing).

       109.    In making the false, misleading, and deceptive representations and omissions at

issue, Walmart also knew and intended that consumers would pay a premium for

hypoallergenic products and tear-free products, furthering Walmart’s private interest of

increasing sales of its products and decreasing the sales of products marketed by its

competitors.

I.     Consumers Reasonably Relied

       110.    Consumers frequently rely on ingredient representations and information in

making purchase decisions, especially in purchasing personal care products.

       111.    When Plaintiffs and the Class members purchased the Falsely Labeled Products,

Plaintiffs and the Class members saw the false, misleading, and deceptive representations

detailed above, and did not receive disclosure of the facts concealed, as detailed above.

       112.    These misrepresentations were uniform and were communicated to Plaintiffs

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and every other member of the Class at every point of purchase and consumption.

       113.   Plaintiffs and the Class members were among the intended recipients of

Walmart’s deceptive representations and omissions.

       114.   Plaintiffs and the Class members reasonably relied to their detriment on

Walmart’s misleading representations and omissions.

       115.   Walmart’s false, misleading, and deceptive misrepresentations and omissions

deceived and misled, and are likely to continue to deceive and mislead, Plaintiffs, the Class

members, reasonable consumers, and the general public.

       116.   Walmart’s misleading affirmative statements further obscured what it failed to

disclose. Thus, reliance upon Walmart’s misleading and deceptive representations and

omissions may be presumed.

       117.   Walmart made the deceptive representations and omissions with the intent to

induce Plaintiffs and the Class members to purchase the Falsely Labeled Products. Plaintiffs’

and the Class members’ reliance upon such representations and omissions may be presumed.

       118.   Walmart’s deceptive representations and omissions are material in that a

reasonable person would attach importance to such information and would be induced to act

upon such information in making purchase decisions. Thus, Plaintiffs’ and the Class members’

reliance upon such representations and omissions may be presumed as a matter of law. The

materiality of those representations and omissions also establishes causation between

Walmart’s conduct and the injuries sustained by Plaintiffs and the Class members.

J.     Walmart’s Wrongful Conduct Caused Plaintiff’s Injury

       119.   As an immediate, direct, and proximate result of Walmart’s false, misleading,

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and deceptive representations and omissions, Walmart injured Plaintiffs and the Class members

in that they:

                a.      paid a sum of money for a product that was not as represented;

                b.      paid a premium price for a product that was not as represented;

                c.      were deprived the benefit of the bargain because the Falsely Labeled

Products they purchased were different from what Walmart warranted;

                d.      were deprived the benefit of the bargain because the Falsely Labeled

Products they purchased had less value than what was represented;

                e.      did not receive a product that measured up to their expectations as

created by Walmart;

                f.      used (or caused their children to use) a substance that Plaintiffs and the

members of the Class did not expect or consent to;

                g.      without their knowing consent, used (or caused their children to use) a

substance that is generally harmful to their health or their children’s health;

                h.      without their knowing consent, used (or caused their children to use) a

substance that is a skin sensitizer or skin irritant.

        120.    Had Walmart not made the false, misleading, and deceptive representations and

omissions, Plaintiffs and the Class members would not have been injured as listed above.

Accordingly, Plaintiffs and the Class members have suffered injury in fact as a result of

Walmart’s wrongful conduct.

        121.    Plaintiffs and the Class members all paid money for the Falsely Labeled

Products but did not obtain the full value of the advertised products due to Walmart’s

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misrepresentations and omissions. Plaintiffs and the Class members purchased, purchased

more of, or paid more for, the Falsely Labeled Products than they would have had they known

the truth about the Falsely Labeled Products. Accordingly, Plaintiffs and the Class members

have suffered injury in fact and lost money or property as a result of Walmart’s wrongful

conduct.

K.     Walmart Benefitted From Its Deceptive Representations and Omissions

       122.    As the intended, direct, and proximate result of Walmart’s false, misleading,

and deceptive representations and omissions, Walmart has been unjustly enriched through

more sales of Falsely Labeled Products and higher profits at the expense of Plaintiffs and the

Class members. As a direct and proximate result of its deception, Walmart also unfairly

obtained other benefits, including the higher value associated with a “hypoallergenic” and

“tear-free” brand and the resulting higher stock value, redirecting sales to it and away from its

competitors, and increased sales of its other products.

                                IV.     CLASS ALLEGATIONS

       123.    Plaintiffs brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of themselves and all other similarly situated United States residents who

purchased the Falsely Labeled Products (as defined herein) from Walmart’s retail or online

stores (the “Nationwide Class”).

       124.    Plaintiff Williams also bring this action on behalf of herself and all other

similarly situated California residents who purchased the Falsely Labeled Products (as defined

herein) from Walmart’s retail or online stores (the “California Class”).

       125.    Plaintiff Brito-Munoz also brings this action on behalf of herself and all other

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similarly situated Pennsylvania residents who purchased the Falsely Labeled Products (as

defined herein) from Walmart’s retail or online stores (the “Pennsylvania Class”).

       126.      Excluded from the Class are the judge(s) assigned to this case and their family

members; officers and directors of Walmart; members of the immediate families of the officers

and directors of Walmart; Walmart’s legal representatives, heirs, successors, or assigns; and,

any entity in which they have or have had a controlling interest.

       127.      Plaintiffs bring each Class pursuant to Federal Rules of Civil Procedure 23(a),

23(b)(1), 23(b)(2), and 23(b)(3).

       128.      At this time, Plaintiffs do not know the exact number of the Class members;

given the nature of the claims and the number of sales that Walmart has made of the Products,

Plaintiffs believe that members of each Class are so numerous that joinder of all members is

impracticable.

       129.      There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class that

predominate over questions that may affect individual Class members include:

                 a.     whether Walmart misrepresented and/or failed to disclose material facts

concerning the Falsely Labeled Products;

                 b.     whether Walmart’s conduct was unfair and/or deceptive; and

                 c.     whether Walmart breached an express warranty created through the

labeling and marketing of its Falsely Labeled Products.

       130.      Plaintiffs’ claims are typical of those of the Class because Plaintiffs, like all

members of the Class, purchased one or more of Walmart’s Falsely Labeled Products at a

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premium price, relying on Walmart’s false and misleading representations, and Plaintiffs

sustained damages from Walmart’s wrongful conduct.

         131.   Plaintiffs will fairly and adequately protect the interests of the Class because

Plaintiffs are similarly situated with, and have suffered similar injuries as, the members of the

Class they seek to represent. Plaintiffs feel that they have been deceived, wish to obtain redress

of the wrong, and want Walmart to be stopped from perpetrating similar wrongs on others.

Plaintiffs are adequate representatives of the Class because their interests do not conflict with

the interests of the Class members they seek to represent, and they have retained counsel

competent and experienced in conducting complex class action litigation, who were the first to

publicly uncover the true scope and extent of Walmart’s wrongs. Plaintiffs have no interests

adverse to those of the Class members and will vigorously prosecute this litigation.

         132.   A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Specifically, no Class member has a substantial interest in

individually controlling the prosecution of a separate action. The damages suffered by each

individual Class member likely will be relatively small, especially given the burden and

expense of individual prosecution of the complex litigation necessitated by Walmart’s conduct.

Thus, it would be virtually impossible for the Class members individually to redress effectively

the wrongs done to them.

         133.   The prerequisites to maintaining a class action for injunctive or equitable relief

are met as Walmart has acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive or equitable relief with respect to the Class as a

whole.

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        134.   Upon information and belief, there are no pending lawsuits concerning the

products at issue in this case. Concentration of the litigation concerning this matter in this Court

is desirable, and the difficulties likely to be encountered in the management of a class action

are not great. The resolution of the claims of all Class members in a single forum, and in a

single proceeding, would be a fair and efficient means of resolving the issues raised in this

litigation.

        135.   The prosecution of separate actions by Class members would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Walmart.

        136.   Walmart’s conduct is generally applicable to the Class as a whole and Plaintiffs

seek, inter alia, equitable remedies with respect to the Class as a whole. As such, Walmart’s

systematic policies and practices make declaratory relief with respect to the Class as a whole

appropriate.

        137.   The Class is specifically identifiable to facilitate provision of adequate notice

and there will be no significant problems managing this case as a class action. Notice to the

Class can be made through various means, such as in-store leaflets, website notices, Facebook

notices, notices on the labels of the packages, and/or direct notice to those consumers for which

Walmart knows the e-mail or physical mailing address.

                                    CAUSES OF ACTION

        138.   The allegations above and in each Cause of Action are repeated and realleged

in every other Cause of Action as if set forth in full therein.




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                                           COUNT 1

                               Breach of Express Warranty
                 On Behalf of the Nationwide Class and, in the alternative,
                   the Pennsylvania Class, and/or the California Class
       139.    Walmart provided Plaintiffs and other members of the Class with written

express warranties including, but not limited to, warranties that its Falsely Labeled Products

were “hypoallergenic,” and additionally, that some of these Falsely Labeled Products were also

“tear-free.”

       140.    These affirmations of fact or promises by Walmart relate to the goods and

became part of the basis of the bargain.

       141.    Plaintiffs and members of each Class purchased the Falsely Labeled Products,

believing them to conform to the express warranties.

       142.    Walmart breached these warranties.

       143.    As a proximate result of the breach of warranties by Walmart, Plaintiffs and the

other members of the Class did not receive goods as warranted.

       144.    Plaintiffs and the members of the Class therefore have been injured and have

suffered damages in an amount to be proven at trial. Among other things, Plaintiffs and

members of the Class did not receive the benefit of the bargain and have suffered other injuries

as detailed above. Moreover, had Plaintiffs and the Class members known the true facts, they

would not have purchased the products, would have purchased fewer products, or would not

have been willing to pay the premium price Walmart charged for the products.

       145.    WHEREFORE, Plaintiffs pray for relief as set forth below.




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                                          COUNT 2

                                   Unjust Enrichment
                 On Behalf of the Nationwide Class and, in the alternative,
                   the Pennsylvania Class, and/or the California Class
       146.    As a result of Walmart’s deceptive, fraudulent, and misleading labeling,

advertising, marketing, and sales of the Falsely Labeled Products, Walmart was enriched at the

expense of Plaintiffs and the other members of the Class through the payment of the purchase

price for Walmart’s Falsely Labeled Products.

       147.    Under the circumstances, it would be against equity and good conscience to

permit Walmart to retain the ill-gotten benefits that it received from Plaintiffs and the other

members of the Class, in light of the fact that the Falsely Labeled Products purchased by

Plaintiffs and the other members of the Class were not what Walmart purported them to be.

Thus, it would be unjust or inequitable for Walmart to retain the benefit without restitution to

Plaintiffs and the other members of the Class for the monies paid to Walmart for such Falsely

Labeled Products.

       148.    WHEREFORE, Plaintiffs pray for relief as set forth below.

                                          COUNT 3

                        Unfair and Deceptive Acts and Practices
      On Behalf of the Nationwide Class and, in the alternative, the California Class
       149.    This cause of action is brought pursuant to California’s Consumers Legal

Remedies Act, Cal. Civ. Code §§ 1750-1785 (“CLRA”) and similar statutes.

       150.    Plaintiffs and the other members of the Class are “consumers,” as the term is

defined by California Civil Code § 1761(d) and similar statutes, because they bought the

Falsely Labeled Products for personal, family, or household purposes. Walmart is a “person”


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under Cal. Civ. Code § 1761(c) and similar statutes.

        151.    The Falsely Labeled Products are “goods” under Cal. Civ. Code § 1761(a) and

similar statutes. Plaintiff, the other members of the Class, and Walmart have engaged in

“transactions,” as that term is defined by California Civil Code § 1761(e) and similar statutes.

For the California Class, these transactions all occurred in the State of California.

        152.    The conduct alleged in this Complaint constitutes unfair methods of competition

and unfair and deceptive acts and practices for the purposes of the CLRA and similar statutes,

and the conduct was undertaken by Walmart in transactions intended to result in, and which

did result in, the sale of goods to consumers.

        153.    Walmart’s false and fraudulent representations and omissions have violated and

continue to violate the CLRA and similar statutes because they extend to transactions that are

intended to result, or have resulted, in the sale of goods to consumers, including the Plaintiffs

and the Class members.

        154.    Walmart’s conduct violates Cal. Civ. Code § 1770(a)(5) and similar statutes,

which prohibits “[r]epresenting that goods . . . have . . . characteristics [or] ingredients . . .

which they do not have,” and Cal. Civ. Code § 1770(a)(7) and similar statutes, which prohibits:

“[r]epresenting that goods . . . are of a particular standard, quality, or grade . . . if they are of

another,” causing injury to Plaintiffs and the Class.

        155.    As a result of engaging in such conduct, Walmart has violated California Civil

Code § 1770(a)(5), (a)(7), and (a)(9) and similar statutes.

        156.    Plaintiffs will serve Walmart with notice of its CLRA violations by certified

mail, return receipt requested. If, after the requisite thirty days of receiving notice, Walmart

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continues to refuse to correct its wrongs, Plaintiffs will amend this Complaint to include a claim

for punitive damages for Walmart’s CLRA violations.

       157.    Plaintiffs and the Class members seek preliminary injunctive relief, and

permanent injunctive relief against Walmart’s unfair and deceptive acts and conduct.

       158.    Pursuant to California Civil Code § 1780(a)(2) and (a)(5) and similar statutes,

Plaintiffs seek an order of this Court that includes, but is not limited to, an order enjoining

Walmart from continuing to engage in unlawful, unfair, or fraudulent business practices or any

other act prohibited by law.

       159.    Plaintiffs and the other Class members may be irreparably harmed and/or denied

an effective and complete remedy if such an order is not granted.

       160.    The unfair and deceptive acts and practices of Walmart, as described above,

present a serious threat to Plaintiffs and the other members of the Class.

       161.    WHEREFORE, Plaintiffs pray for relief as set forth below.

                                           COUNT 4

         Violations of California’s False Advertising Law and Similar Statutes
      On Behalf of the Nationwide Class and, in the alternative, the California Class
       162.    This cause of action is brought pursuant to California’s False Advertising Law

(“FAL”), Cal. Bus. & Prof. Code § 17500 et seq. and similar statutes.

       163.    Such acts of Walmart, as described above, and each of them constitute unlawful,

deceptive, and fraudulent business acts and practices.

       164.    At all material times, Walmart engaged in a scheme of offering the Falsely

Labeled Products for sale to Plaintiffs and the other members of the Class by way of distributing

within the State of California (as well as within other states) to the public, inter alia,

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commercial marketing and advertising, the World Wide Web (Internet), Falsely Labeled

Product packaging and labeling, and other promotional materials and offered for sale the

Falsely Labeled Products on a nationwide basis, including in California.

       165.    The misrepresentations and non-disclosures by Walmart of the material facts

detailed above constitute false and misleading advertising, and therefore constitute a violation

of Cal. Bus. & Prof. Code § 17500, et seq. and similar statutes.

       166.    Said advertisements and inducements were made within the state of residence

and come within the definition of advertising contained in the FAL and similar statutes in that

such promotional materials were intended as inducements to purchase Walmart’s Falsely

Labeled Products and are statements disseminated by Walmart to Plaintiffs and the other Class

members. Walmart knew, or in the exercise of reasonable care should have known, that these

representations were misleading and deceptive.

       167.    Consumers, including Plaintiffs and the other Class members, necessarily and

reasonably relied on these materials concerning Walmart’s Falsely Labeled Products.

Consumers, including Plaintiffs and the Class members, were among the intended targets of

such representations.

       168.    The above acts of Walmart did and were likely to deceive reasonable

consumers, including Plaintiffs and the other members of the Class, by obfuscating the nature,

quality, and/or ingredients of the Falsely Labeled Products, in violation of the “misleading”

prong of the FAL and similar statutes.

       169.    The business practices alleged above are unlawful under the CLRA and similar

statutes, which forbids misleading and deceptive advertising.

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       170.    Plaintiffs and the other members of the Class have suffered injury in fact and

have lost money or property as a result of Walmart’s violations of the FAL and similar statutes.

       171.    As a result, Walmart has been unjustly enriched at the expense of Plaintiffs and

the other members of the Class. Plaintiffs and the Class, pursuant to California Business and

Professions Code § 17535 and similar statutes, are entitled to an order of this Court enjoining

such future conduct on the part of Walmart, and such other orders and judgments which may

be necessary to disgorge Walmart’s ill-gotten gains and restore to any person in interest any

money paid for its Falsely Labeled Products as a result of the wrongful conduct of Walmart.

       172.    WHEREFORE, Plaintiffs pray for relief as set forth below.

                                          COUNT 5

        Violation of California’s Unfair Competition Law and Similar Statutes
      On Behalf of the Nationwide Class and, in the alternative, the California Class
       173.    This cause of action is brought pursuant to California’s Unfair Competition Law

(“UCL”), Cal. Bus. & Prof. Code § 17200 et seq. and similar statutes.

       174.    By committing the acts and practices alleged herein, Walmart has engaged in

deceptive, unfair, and unlawful business practices in violation of the UCL and similar statutes.

       175.    Plaintiffs have standing to pursue this claim as they suffered injury in fact and

have lost money or property as a result of Walmart’s actions as set forth above. Class members

also have suffered injury in fact and have lost money or property as a result of Walmart’s

actions as set forth above.

       176.    The violation of any law constitutes an “unlawful” business practice under Cal.

Bus. & Prof. Code § 17200 and similar statutes.

       177.    Each of Walmart’s false representations alleged herein violates U.S.C. § 331;

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Cal. Civ. Code § 1709; Cal. Civ. Code § 1750 et seq.; and Cal. Bus. & Prof. Code § 17500 et

seq., and similar statutes.

        178.    Walmart has violated the UCL’s and similar statutes’ proscription against

engaging in unlawful conduct as a result of its violations of (i) the CLRA and similar statutes,

as alleged above, and (ii) the FAL and similar statutes, as alleged above.

        179.    In addition, Walmart has violated the UCL’s and similar statutes’ proscription

against engaging in unlawful conduct as a result of its violations of the Sherman Law, Cal.

Health & Safety Code § 109875 et seq., and similar statutes, which forbid (1) misbranding of

any cosmetic, id. at §§ 110398 and 111445, and (2) manufacturing, selling, delivering, holding,

or offering for sale any cosmetic that is misbranded or delivering or proffering such for

delivery. Cal. Health & Safety Code §§ 110390, 110395, 110398, 110400, 110550, 110585,

110620, 110625, 110660, 110770, 110705, 110740, 110760, 110765, 110770, 111445, and

111450.

        180.    The Sherman Law defines a “person” as “any individual, firm, partnership, trust,

corporation, limited liability company, company, estate, public or private institution,

association, organization, group, city, county, city and county, political subdivision of this

state, other governmental agency within the state, and any representative, agent, or agency of

any of the foregoing.” Cal. Health & Safety Code § 109995. Walmart is a “person” within the

meaning of the Sherman Law.

        181.    As more fully described herein, Walmart’s misleading marketing, advertising,

packaging, and labeling of the Falsely Labeled Products is likely to deceive a reasonable

consumer. Indeed, Plaintiffs and the other Class members were unquestionably deceived

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regarding the characteristics of Walmart’s Falsely Labeled Products, as Walmart’s marketing,

advertising, packaging, and labeling of the Falsely Labeled Products misrepresents and/or

omits the true nature, quality, and/or ingredients of the Falsely Labeled Products.

       182.    There is no benefit to consumers or competition from deceptively marketing

and labeling products. Indeed, the harm to consumers and competition is substantial. Plaintiffs

and the other members of the Class who purchased the Falsely Labeled Products suffered a

substantial injury as alleged herein.

       183.    Plaintiffs and the other members of the Class who purchased the Falsely

Labeled Products had no way of reasonably knowing that the Falsely Labeled Products they

purchased were not as marketed, advertised, packaged, and labeled. Thus, they could not have

reasonably avoided the injury each of them suffered.

       184.    Walmart’s acts and omissions alleged above constitute unfair business practices

under Cal. Bus. & Prof. Code § 17200 and similar statutes because the gravity of the

consequences of Walmart’s conduct as described above outweighs any justification, motive, or

reason therefor, particularly considering the available legal alternatives which exist in the

marketplace, and such conduct is immoral, unethical, unscrupulous, offends established public

policy, or is substantially injurious to Plaintiffs and the other members of the Class. Walmart’s

false and misleading representations and omissions also violate legislatively declared policy as

they have violated numerous state and federal laws. Moreover, the gravity of the harm to

Plaintiffs and Class members resulting from Walmart’s conduct outweighs Walmart’s

legitimate reasons, justifications and/or motives for engaging in such deceptive acts and

practices.

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        185.   Each false and misleading representation and omission constitutes fraudulent

business practices under Cal. Bus. & Prof. Code § 17200 and similar statutes because the

representations and omissions were false. Even if these representations were true, Walmart’s

representations and deceptive concealment were nonetheless fraudulent under the statute

because they were misleading and were likely to and did deceive the reasonable consumer,

including Plaintiffs and the Class members.

        186.   Walmart’s violations continue to this day.

        187.   Pursuant to California Business and Professions Code § 17203 and similar

statutes, Plaintiffs and the other members of the Class seek an order of this Court that includes,

but is not limited to, an order enjoining such future conduct on the part of Walmart and such

other orders and judgments which may be necessary to disgorge Walmart’s ill-gotten gains and

to restore to any person in interest any money paid for Walmart’s Falsely Labeled Products as

a result of the wrongful conduct of Walmart.

        188.   WHEREFORE, Plaintiffs pray for relief as set forth below.
                                      COUNT 6
    Violation of Pennsylvania Unfair Trade Practices and Consumer Protection Law
                                 and Similar Statutes
    On Behalf of the Nationwide Class and, in the alternative, the Pennsylvania Class
        189.   This cause of action is brought pursuant to Pennsylvania’s Unfair Trade

Practices and Consumer Protection Law (“UTPCPL”), 73 P.S. § 201-1 et seq. and similar

statutes.

        190.   By committing the acts and practices alleged herein, Walmart has engaged in

deceptive, unfair, and unlawful business practices in violation of the UTPCPL and similar

statutes.

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        191.    Plaintiffs have standing to pursue this claim as they suffered injury in fact and

have lost money or property as a result of Walmart’s actions as set forth above. Class members

also have suffered injury in fact and have lost money or property as a result of Walmart’s

actions as set forth above.

        192.    Plaintiffs purchased the Falsely Labeled Products primarily for personal, family

or household purposes within the meaning of 73 P.S. § 201-9.2, and similar statutes.

        193.    All of the acts complained of herein were perpetrated by Walmart in the course

of trade or commerce within the meaning of 73 P.S. § 201-2(3), and similar statutes.

        194.    The UTPCPL prohibits unfair or deceptive acts or practices, including: (i)

“Representing that goods or services have . . . characteristics, . . . benefits or qualities that they

do not have;” (ii) “Representing that goods or services are of a particular standard, quality or

grade . . . if they are of another;:” (iii) “Advertising goods or services with intent not to sell

them as advertised;” and (iv) “Engaging in any other fraudulent or deceptive conduct which

creates a likelihood of confusion or misunderstanding.” 73 P.S. § 201-2(4). Similar statutes

similarly prohibit unfair or deceptive acts or practices.

        195.    Walmart engaged in unlawful trade practices, including representing that

Falsely Labeled Products have characteristics, uses, benefits, and qualities which they do not

have; representing that Falsely Labeled Products are of a particular standard and quality when

they are not; advertising Falsely Labeled Products with the intent not to sell them as advertised;

and engaging in other fraudulent or deceptive conduct which created a likelihood of confusion

or of misunderstanding.

        196.    In the course of its business, Walmart misrepresented the Falsely Labeled

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Products as “hypoallergenic” and/or “tear-free,” concealed the fact that the Falsely Labeled

Products are not “hypoallergenic” and/or “tear-free,” as advertised, and otherwise engaged in

activities with a tendency or capacity to deceive, as alleged above. Walmart also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression or omission of material facts with intent that

others rely upon such concealment, and suppression or omission in connection with the sale of

the Falsely Labeled Products.

        197.    Walmart’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs and Class members.

        198.    Walmart knew or should have known that its conduct violated the UTPCPL and

similar statutes.

        199.    Walmart’s unfair and deceptive trade practices harmed Plaintiffs and Class

members because the Falsely Labeled Products were worth less as the result of Walmart’s

misrepresentations and concealment of facts, as alleged above.

        200.    Walmart’s misrepresentations and concealment of facts alleged above were

material to Plaintiffs. If they had been aware that the products were not “hypoallergenic” and/or

“tear-free,” as advertised, Plaintiffs would not have purchased the Falsely Labeled Products,

or would have spent less on them.

        201.    The fact that the products are not “hypoallergenic” and/or “tear-free,” as

advertised, would be material to a reasonable consumer.

        202.    Plaintiffs suffered ascertainable loss caused by Walmart’s misrepresentations

and its concealment.

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       203.    As a direct and proximate result of Walmart’s violations of the UTPCPL and

similar statutes, Plaintiffs and Class members have suffered damages.

       204.    Walmart’s violations continue to this day.

       205.    WHEREFORE, Plaintiffs pray for relief as set forth below.
                                            COUNT 7
                                       Breach of Contract
                                 On Behalf of the Nationwide Class
       206.    Plaintiffs bring this Count in the alternative to their unjust enrichment claim.

       207.    Walmart offered to sell Plaintiffs and the Class members a product that was

“hypoallergenic” and/or “tear-free,” as represented, in exchange for the specified purchase

price. Walmart also promised “Satisfaction guaranteed -- Or we’ll replace it or give you your

money back.” Exhibit 1.

       208.    Plaintiffs accepted the offer, paying the specified purchase price.

       209.    Walmart breached its contract, failing to provide the “hypoallergenic” and/or

“tear-free” product offered.

       210.    Walmart’s breach was material.

       211.    As a result, Plaintiffs suffered damages equal to the purchase price. In the

alternative, Plaintiffs suffered damages equal to the premium price they paid for a product that

was “hypoallergenic” and/or “tear-free,” as promised.

       212.    WHEREFORE, Plaintiffs pray for relief as set forth below.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment on behalf of themselves and the proposed

Classes providing such relief as follows:



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       A.         Certification of the Classes proposed herein under Federal Rule of Civil

Procedure 23(a), (b)(1), (b)(2), and (b)(3); appointment of Plaintiffs as representatives of the

Nationwide Class; appointment of Plaintiff Brito-Munoz as representative of the Pennsylvania

Class; appointment of Plaintiff Williams as representative of the California Class; and

appointment of the undersigned counsel as counsel for the Classes;

       B.         A declaration that Walmart is financially responsible for notifying members of

the Classes of the pendency of this suit;

       C.         An order requiring an accounting for, and imposition of a constructive trust

upon, all monies received by Walmart as a result of the unfair, misleading, fraudulent, and

unlawful conduct alleged herein;

       D.         Restitution, disgorgement, refund, and/or other monetary damages, together

with costs and disbursements, including reasonable attorneys’ fees pursuant to the applicable

statutes and prejudgment interest at the maximum rate allowable by law;

       E.         Injunctive relief on behalf of the Classes, enjoining Walmart’s unlawful and

deceptive acts;

       F.         Statutory damages in the maximum amount provided by law;

       G.         Punitive damages in accordance with proof and in an amount consistent with

applicable precedent; and

       H.         Such further relief as this Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs and the Class members hereby demand a trial by jury.




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DATED: May 18, 2021            s/ James A. Francis
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